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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


VACHO SHAHEN,                                         CIVIL ACTION
                               Plaintiff,
       vs.                                            NO. 21-cv-01397

THE UNITED STATES OF AMERICA;
WARDEN SEAN MARLER; ASSOCIATE
WARDEN PETE LAWRIE; FEDERAL
BUREAU OF PRISONS EMPLOYEES JOHN
DOE 1-99; and CORRECTIONAL OFFICERS
JOHN DOE 1-99,

                               Defendants.


VACHO SHAHEN,                                         CIVIL ACTION
                               Plaintiff,
       vs.                                            NO. 21-cv-02039

UNITED STATES OF AMERICA,

                               Defendant.



                            STIPULATED PROTECTIVE ORDER

       The parties, plaintiff Vacho Shahen, and the defendants, the United States of America,

Sean Marler, and Pete Lawrie, by and through their respective undersigned counsel,

STIPULATE as follows:

       1.       These are civil actions brought by plaintiff against defendants alleging torts and

constitutional violations that plaintiff contends occurred while he was detained in the Federal

Detention Center-Philadelphia (“FDC”). These civil actions shall be referred to herein as the

“Litigation.”
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        2.      Good cause exists for the Court to enter this Stipulated Protective Order. See

Pansy v. Borough of Stroudsburg, 23 F.3d 772 (3d Cir. 1994). Certain documents and

information to be produced by defendants in the Litigation may be protected from public

disclosure by the Privacy Act, 5 U.S.C § 552a, the Health Insurance Portability and

Accountability Act of 1996 (“HIPAA”) and its implementing regulations, see e.g. 45 C.F.R. §

164.502, the privacy exemptions of the Freedom of Information Act, 5 U.S.C. § 552(b), and

other statutes and regulations, or may otherwise contain confidential or law enforcement

sensitive information. Specifically, some of the information to be exchanged in the Litigation

relates to the safety and security of the FDC and/or other Bureau of Prison facilities, including

confidential and sensitive information concerning FDC and/or Bureau of Prison’s operations and

procedures. Some of the information to be produced reveals the personal information of FDC

officers, staff, and prisoners. This includes personal information, not publicly available, of FDC

prisoners involved in an altercation with plaintiff. The continued safety and protection of these

officers, staff, and prisoners from retaliation is an important government interest. All of these

reasons establish good cause for the entry of this Stipulated Protective Order.

        3.      This Stipulated Protective Order is designed to maintain confidentiality of such

sensitive or confidential information, while permitting the information to be used for appropriate

purposes in the Litigation only.

        4.      The Court retains the right to allow disclosure of any subject covered by this

stipulation or to modify this stipulation at any time in the interest of justice.

        IT IS HEREBY ORDERED THAT:

        5.      The Court finds that good cause exists for the entry of this Stipulated Protective

Order pursuant to Federal Rule of Civil Procedure 26(c).
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       6.      DEFINITION OF CONFIDENTIAL MATERIAL. For purposes of this

Stipulated Protective Order, the term “Confidential Material” may apply to (a) medical records

of nonparties; (b) personal information protected by Local Rule 5.1.3; (c) other materials that,

the production of which, absent this Order, would violate HIPAA, FOIA, or the Privacy Act; and

(d) confidential and sensitive information maintained by the Bureau of Prisons (“BOP”) relating

to the safety and security of the FDC or other Bureau of Prison facilities.

       7.      DISCLOSURE OF CONFIDENTIAL MATERIAL. Upon the entry of this

Stipulated Protective Order, the defendants and their counsel may disclose -- in discovery in the

Litigation -- information and documents that constitute CONFIDENTIAL MATERIAL, as

defined herein. Notwithstanding this Stipulated Protective Order, defendants reserve their rights

to object to plaintiff’s discovery requests on all grounds.

       8.      APPLICATION. The parties’ attorneys shall inform any nonparty to whom

disclosure may be made pursuant to this Stipulated Protective Order of the existence and terms

of this Stipulated Protective Order. The provisions herein shall also apply to any nonparty who

provides testimony, documents or information in the Litigation, all of whom shall be bound by

the terms of this Stipulated Protective Order. References to a “party” or “parties” herein shall

include such nonparties, in addition to plaintiff and defendants.

       9.      Nothing herein shall limit a party’s use of its own documents or information.

       10.     DESIGNATION OF CONFIDENTIAL MATERIAL. In connection with

discovery proceedings the Litigation, any party to the Litigation may, by written notice to all

counsel, by marking the words “CONFIDENTIAL MATERIAL” or substantially similar

language on the face of the document, or by a statement on the record at a deposition, designate

any confidential material, as defined in paragraph no. 6, as “CONFIDENTIAL MATERIAL,”
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provided the party has a good faith belief that the designated document, material, or information,

is entitled to protection from disclosure.

       11.     USE OF DESIGNATED CONFIDENTIAL MATERIAL. Persons receiving

Confidential Material shall not further disclose that material other than in accordance with this

Stipulated Protective Order. Persons who obtain Confidential Material pursuant to this

Stipulated Protective Order may use or disseminate such Confidential Material only in

connection with the Litigation and not for any other purpose, and shall not at any time without

leave of Court show, display, reveal, or discuss such Confidential Material, or the contents

thereof, to or with any person other than those persons specified as Qualified Persons in

paragraph no. 14 of this Stipulated Protective Order. To the extent that any CONFIDENTIAL

MATERIAL is filed in Court in connection with any document, such document shall be filed

under seal, or such CONFIDENTIAL INFORMATION shall be redacted and an unredacted

copy shall be provided to the Court for in camera review.

       12.     KNOWLEDGE OF IMPROPER DISCLOSURE. In the event any party to this

Stipulated Protective Order learns of a use or disclosure of Confidential Material not permitted

by this Stipulated Protective Order, that party shall promptly advise all other parties’ counsel of

such improper disclosure.

       13.     INADVERTENT PRODUCTION WITHOUT PREJUDICE. The inadvertent

production of any Confidential Material without having designated the material as Confidential

Material pursuant to paragraph no. 10 shall be without prejudice to any claim that such material

is confidential, and no party shall be held to have waived any rights by such inadvertent

production.
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       14.     QUALIFIED PERSONS. Any materials designated as “CONFIDENTIAL

MATERIAL” may be examined by, used by, disclosed to, or made available to, only Qualified

Persons. Qualified Persons include only:

               a. The Court and Court staff;

               b. Counsel to the parties in the Litigation, and such Counsel’s paralegal(s),

                   clerical and secretarial staff, and investigators;

               c. Court reporters;

               d. Outside vendors used to assist in the preparation of trial, discovery, or other

                   litigation-related materials; and

               e. experts retained by a party in connection with the Litigation.

       15.     Plaintiff is not a Qualified Person and may not have access to Confidential

Material produced by any of the defendants.

       16.     The parties shall not disclose Confidential Material to any individual or entity

except as provided herein.

       17.     MAINTAINING THE CONFIDENTIALITY OF CONFIDENTIAL

MATERIAL. The parties shall take all necessary and appropriate measures to maintain

Confidential Information in a secure manner.

       18.     COPIES. Any “Qualified Persons” who obtain access to “CONFIDENTIAL

MATERIAL” under this Stipulated Protective Order may make copies, duplicates, extracts,

summaries or descriptions of the Confidential Material solely for the purposes of the Litigation.

All such copies, duplicates, extracts, summaries or descriptions shall be subject to the terms of

this Stipulated Protective Order to the same extent and manner as original documents.
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        19.    NO WAIVER. No unauthorized disclosure of documents or information

designated as “CONFIDENTIAL MATERIAL” under this Stipulated Protective Order shall

result in a waiver of the confidentiality of such “CONFIDENTIAL MATERIAL”.

        20.    USE IN FILINGS. Nothing contained in this Stipulated Protective Order shall

preclude the use of information designated “CONFIDENTIAL MATERIAL” in an affidavit,

motion, brief, memorandum or other document filed with the Court in connection with this

litigation, provided that it is necessary for use in connection with pretrial proceedings in the

Litigation.

        21.    Any party filing with the Court a document containing Confidential Information,

the party filing the document shall first request leave of the Court to file the document UNDER

SEAL.

        22.    CONFIDENTIAL INFORMATION ELICITED AT DEPOSITIONS. In the

event a witness is requested to disclose Confidential Material may at a deposition, counsel for

any of the defendants may designate the information elicited as “CONFIDENTIAL

MATERIAL” and request that the court reporter insert a statement regarding the confidentiality

of the information into the deposition transcript. Each party shall have ten (10) business after

receipt of the deposition transcript within which to inform the other parties, in writing, that

portions of the transcript are designated as “CONFIDENTIAL MATERIAL.” No such

deposition transcript shall be disclosed to any person other than Qualified Persons during those

ten (10) business days. Upon being informed that certain portions of a deposition are designated

as “CONFIDENTIAL MATERIAL,” each party shall cause each copy of the transcript in its

possession, custody or control to be so marked.
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         23.   OBJECTIONS. In the event that counsel for a party receiving CONFIDENTIAL

MATERIAL objects to such a designation, objecting counsel shall advise the producing party of

the basis of the objection and the reasons therefore. If the producing party persists in its

Confidential Material designation, the material shall be treated as Confidential Material under

this Stipulated Protective Order pending a resolution by the Court of the parties’ dispute, and it

shall be the obligation of the party objecting to the designation of Confidential Information to

request Court intervention in the dispute.

         24.   ULTIMATE DISPOSITION. All documents designated as “CONFIDENTIAL

MATERIAL” shall be returned to the producing party or destroyed (with certification of

destruction provided) no later than 30 days after the entry of an Order or judgment resolving this

case becomes final and unappealable.

         25.   FULL FORCE AND EFFECT. This Stipulated Protective Order shall remain in

full force and effect after the termination of the Litigation, or until modified by order of the

Court.

________________________                               _________________________
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                                                       BY THE COURT:


                                                         /s/Wendy Beetlestone, J.
                                                       ________________________________
                                                       HONORABLE WENDY BEETLESTONE
                                                       Judge, United States District Court


  Dated: 6/25/2021
